


 
   *1271
   
  PER CURIAM.
 

  We affirm the trial court’s order denying the motion for substitution of counsel because it is clear that, given the facts of this case, the trial court did not abuse its discretion.
  
   See generally In re Guardianship of Bockmuller,
  
  602 So.2d 608, 609 (Fla. 2d DCA 1992) (concluding that, where the ward’s right to contract had been removed by an order determining incapacity, the ward had no power to contract with an attorney to represent her). Because appellant’s attorney was not legally authorized to represent her in either the trial court or this appeal, we dismiss the remaining issues raised by the attorney.
  
   See In re Guardianship of Graham,
  
  963 So.2d 275, 280 (Fla. 4th DCA 2007).
 

  AFFIRMED IN PART and DISMISSED IN PART.
 

  WEBSTER, PADOVANO, and ROWE, JJ., concur.
 
